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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS
                               EASTERN DIVISION
In re: SKAPARS, YVONNE V.                 Chapter 13
       SSN: xxx-xx-5580                   Case No. 15-11221-JNF

                      NOTICE OF WITHDRAWAL OF
 TRUSTEE’S MOTION FOR ORDER DISMISSING CASE AND SUPPLEMENT THEREOF

       Now comes Carolyn A. Bankowski, Standing Chapter 13 Trustee, and withdraws her
Motion for Order Dismissing this case, which Motion was filed on March 08, 2016, and
Supplement thereof filed on April 27, 2016, and for reasons states that the Debtor has satisfied
the grounds alleged in the Motions.
Dated: May 13, 2016
                                         Respectfully submitted,
                                         Carolyn A. Bankowski
                                         Standing Chapter 13 Trustee
                                         By:/s/ Carolyn A. Bankowski
                                         Carolyn A. Bankowski (BBO#631056
                                         Patricia A. Remer (BBO#639594)
                                         Office of the Chapter 13 Trustee
                                         PO Box 8250
                                         Boston, MA 02114-0022
                                         (617) 723-1313
                                         13trustee@ch13boston.com
                                      Certificate of Service
        The undersigned hereby certify that a copy of the within Notice of Withdrawal by Chapter
13 Trustee of Motion for Order Dismissing Case and Supplement Motion thereof was served
upon the Debtor and Debtor’s counsel via first class mail, postage prepaid, or by electronic
notice, at the address set forth below.
Dated: May 13, 2016                                  By: /s/ Carolyn A. Bankowski



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